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                       IN T H E UNITED S T A T E S D I S T R I C T C O U R T
                     F O R T H E E A S T E R N D I S T R I C T O F NEW Y O R K


 NELLA REBELLO as Administrator of the Estate
 of ANDREA REBELLO, NELLA REBELLO,                           NOTICE OF VOLUNTARY
 individually, FERNANDO REBELLO and                          DISMISSAL W I T H P R E J U D I C E
 JESSICA REBELLO,                                            PURSUANT T O F.R.C.P.
                                                             Fed. R. Civ. P. 41(a)(l)(A)(i)
              Plaintiffs,

       -against-

 POLICE OFFICER NIKOLAS BUDIMLIC,
 POLICE OFFICER NICHOLAS ZAHARIS,
 COUNTY OF NASSAU, DETECTIVE MARTIN
 J. HELMKE, POLICE OFFICER JOSEPH
 AVANZATO, POLICE OFFICER MICHAEL                            16 Civ. 02484 (JMA)(AKT)
 LEONE, POLICE OFFICER MARLON
 SANDERS, POLICE OFFICER JOSEPH
 LOBELLO, POLICE OFFICER CHRISTOPHER
 ACQUILINO, POLICE OFFICER RAYMOND
 BUTTACAVOLI, POLICE OFFICER DANIEL
 HEALEY, POLICE OFFICER DENNIS
 WUNSCH, POLICE OFFICER RONALD
 RUSSO, POLICE OFFICER D. STELLER,
 POLICE OFFICER THOMAS CURTAIN,
 POLICE OFFICER JOHN TUCKER, POLICE
 SERGEANT ROBERT COHEN, POLICE
 SERGEANT RICHARD HERMAN, POLICE
 OFFICER J. SCHOEPFER, POLICE OFFICER
 E. JACOBSEN, POLICE OFFICER D.
 MCGARRIGLE, THOMAS DALE, former
 Commissioner of the Nassau County Police
 Department, DETECTIVE FREDERICK
 GOLDMAN, DETECTIVE FRANK RUVULO,
 DETECTIVE JAMES HENDRY, DETECTIVE
 PAUL PICH, DETECTIVE MICHAEL
 MALONEY, DETECTIVE BUFFALINO,
 DETECTIVE SERGEANT AQUILINA, LT. JOHN
 AZZATA, CHIEF LORRAINE HANNON, Chief
 Of Support, DEPUTY INSPECTOR JOSEPH
 MAGRANE, Commanding Officer, 1st Precinct,
 DEPUTY INSPECTOR DANIEL FLANAGAN,
 Commanding Officer, Police Academy,
 LIEUTENANT HARUN BEGIS, Commanding
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 Officer, Firearms Training Unit, DETECTIVE
 SERGEANT STEPHEN FITZPATRICK,
 Homicide Squad, JOHN DOE POLICE OFFICERS
 l-IO; RICHARD ROE POLICE SUPERVISORS
 l-IO; JOHN DOES; and RICHARD ROES,

                               Defendants.
                                                        X


     N O T I C E O F V O L U N T A R Y DISMISSAL PURSUANT T O F.R.C.P. 41(si)(lMA)(i)

        Pursuant to F.R.C.P. 4I(a)(l)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs

 Nella Rebello, as Administrator of the Estate of Andrea Rebello, Nella Rebello, individually,

 Fernando Rebello, individually, and Jessica Rebello, and/or their counsel(s), hereby give notice

 that the above captioned action is voluntarily dismissed with prejudice against Defendants Police

 Office Nikolas Budimlic, Police Office Nicholas Zaharis, County of Nassau, Detective Martin J.

 Helmke, Police Officer Joseph Avanzato, Police Officer Micheal Leone, Police Officer Marlon

 Sanders, Police Officer Joseph Lobello, Poliee Officer Christopher Acquilino, Police Officer

 Raymond Buttacavoli, Police Officer Daniel Healey, Police Officer Dennis Wunsch, Police

 Officer Ronald Russo, Police Officer Officer D. Stellar, Police Officer Thomas Curtain, Police

 Officer John Tucker, Police Sergeant Robert Cohen, Police Sergeant Richard Herman, Police

 Officer J. Schoepfer, Police Officer E. Jacobsen, Police Officer D. McGarrigle, Thomas Dale,

 former Commissioner of the Nassau County Police Department, Detective Frederick Goldman,

 Detective Frank Ruvulo, Detective James Hendry, Detective Paul Pich, Detective Michael

 Maloney, Detective Buffalino, Detective Sergeant Aquilina, Lt. John Azzata, Chief Lorraine

 Hannon, Chief Of Support, Deputy Inspector Joseph McGrane, Commanding Officer, 1st

 Precinct, Deputy Inspector Daniel Flanagan, Commanding Officer, Police Academy, Lieutenant

 Harun Begis, Commanding Officer, Firearms Training Unit, Detective Sergeant Stephen
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 Fitzpatrick, Homicide Squad, John Doe Police Officers 1-10; Richard Roe Police Supervisors 1-

 10; John Does and Richard Roes.




 Dated: September 21,2017


 David A. Roth
 Counsel for Plaintiffs y
 Roth & Roth LLP         /
 192 Lexington AvenqeTjSuite 1208
 New York, New YpfkloOlb
 (212)425-1020 /       f


 Byron Lassin [ i/
 Counsel for Plaimffs
 Law Offices of Byron Lassin
 202-19 Jamaica Avenue
 HoUis, New York 11423
 (718) 651-0262


 So Ordered:


 Joan M. Azrack, U.S.D.J.
